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                    Supreme Court of the United States

                                       No. 17-1339


                                   LOUIS AG RE, ET AL.,

                                                                       Appellants

                                            v.

           THOMAS W. WOLF, GOVERNOR OF PENNSYLVANIA, ET AL.


       ON APPEAl71''RUM the United States District tourt for ~he Eastern District of

Pennsylvania.

       THIS CAUSE havmg been submitted on the statement as to jurisdiction and the

mot10n to d1sm1ss or affirm.

       ON CONSIDERATION WHEREOF, it is ordered and adjudged by this Court that

the appeal is d1sm1ssed as moot.



                                       May 29, 2018
